             Case 2:20-cv-00470-RMP                  ECF No. 10          filed 06/08/21     PageID.29 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                               FILED IN THE
                                                                                                                U.S. DISTRICT COURT
                                                                  for the_                                EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
                CHARLES JOSEPH REEVIS,                                                                        Jun 08, 2021
                                                                                                               SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:20-CV-00470-RMP
             U.S. DEPARTMENT OF JUSTICE,                             )
                                                                     )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: This action is DISMISSED without prejudice for lack of subject matter jurisdiction.
’




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             Rosanna Malouf Peterson.                                        .




Date: 6/8/2021                                                              CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Lennie Rasmussen
                                                                                          (By) Deputy Clerk

                                                                            Lennie Rasmussen
